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                                                                     FILED

             IN THE UNITED STATES DISTRlCT COnIR, Trr:~l)            Q
                  FOR THE DISlRICT OF MONTAN~n I I "                 v   PFJ 2   liB

                         BILLINGS DIVISION';' f;'~',




JESSE BROWN,                                       Cause No.: CV 10-11 O-RFC-CSO

             Plaintiff,

      vs.
                                                   ORDER
MATIINGLY TESTING SERVICES,
INC,. (MTS, INC.), a Montana Business
Corporation,

             Defendant.


       Upon Stipulation for Dismissal entered into by Plaintiff and Defendant and
good cause appearing therefore,

       IT IS HEREBY ORDERED that the above matter is dismissed with
prejudice, as fully settled on the merits, with each party to pay their own costs and
attorneys fees.     " ~'

      Dated this   ~ day of May 2
                                    C   <FU''U.'

                                 U.S. DISTRICT COURT JUDGE
